      Case 1:25-cv-00766-JEB         Document 72    Filed 04/01/25    Page 1 of 42




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                            )
J.G.G., et al.,                             )   Civil Action No. 1:25-cv-00766
                                            )
              Plaintiffs-Petitioners,       )
                                            )
v.                                          )
                                            )
DONALD J. TRUMP, in his official            )
capacity as President of the United States, )
et al.,                                     )
                                            )
              Defendants-Respondents.       )
                                            )


  DEFENDANTS’ OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
          Case 1:25-cv-00766-JEB                         Document 72                 Filed 04/01/25                Page 2 of 42




                                      TABLE OF CONTENTS
INTRODUCTION ........................................................................................................................ 1

BACKGROUND .......................................................................................................................... 2

          I.         Tren de Aragua’s Designation as a Foreign Terrorist Organization and
                     Under the Alien Enemies Act ................................................................................. 2

          II.        This Suit .................................................................................................................. 6

ARGUMENT .............................................................................................................................. 10

          I.         This Court Lacks Jurisdiction over Plaintiffs’ Claims .......................................... 10

                     A.         There is no jurisdiction to review the President’s Proclamation .............. 10

                     B.         AEA Claims Must Exclusively Be Brought Through Habeas .................. 13

          II.        Plaintiffs Cannot Succeed on the Merits of Their Claims .................................... 17

                     A.         The Proclamation comports with the requirements of the statute............. 17

                                1.         TdA’s actions constitute an invasion or a predatory
                                           incursion into the territory of the United States ............................ 17

                                2.         Given its intimate connection to Venezuela, TdA is a
                                           “foreign nation or government” for purposes of Section 21 ......... 19

                     B.         The Proclamation is supported by the President’s inherent
                                authority to conduct foreign affairs and address national security
                                risks ........................................................................................................... 22

                     C.         Plaintiffs’ remaining arguments lack merit............................................... 23

          III.       The Remaining Equitable Factors Weigh Strongly in the Government’s
                     Favor ..................................................................................................................... 27

                     A.          Plaintiffs have not established irreparable harm ...................................... 27

                     B.         The balance of equities favors denial of preliminary injunctive
                                relief .......................................................................................................... 28

          IV.        The Court Should Not Enter a Nationwide Injunction Based on a
                     Defective Provisional Class Certification. ............................................................ 29

          V.         Plaintiffs Must Provide Security ........................................................................... 32

CONCLUSION ........................................................................................................................... 33

                                                                        i
          Case 1:25-cv-00766-JEB                        Document 72               Filed 04/01/25               Page 3 of 42




                                                TABLE OF AUTHORITIES


Cases

Abramski v. United States,
  134 S. Ct. 2259 (2014) .............................................................................................................. 20

Adams v. Vance,
  570 F.2d 950 (D.C. Cir. 1978) .................................................................................................. 28

Amaya v. Stanolind Oil & Gas Co.,
  62 F. Supp. 181 (S.D. Tex. 1945) ............................................................................................. 18

Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) ............................................................................................................ 30, 31

Ameziane v. Obama,
  699 F.3d 488 (D.C. Cir. 2012) .................................................................................................. 21

Armstrong v. Bush,
  924 F.2d 282 (D.C. Cir. 1991) .................................................................................................. 16

Baker v. Carr,
  369 U.S. 186 (1962) .................................................................................................................. 11

Bas v. Tingy,
  4 US 37 (1800) .......................................................................................................................... 18

Biden v. Texas,
  142 S. Ct. 2528 (2022) .............................................................................................................. 29

Boudin v. Thomas,
  732 F.2d 1107 (2d Cir. 1984) ................................................................................................... 13

Boumediene v. Bush,
  553 U.S. 723 (2008) .................................................................................................................. 15

Brownell v. Tom We Shung,
  352 U.S. 180 (1956) .................................................................................................................. 15

California v. United States,
  104 F.3d 1086 (9th Cir. 1997) ............................................................................................ 11, 12

Citizens Protective League v. Clark,
   155 F.2d 290 (D.C. Cir. 1946) ..................................................................................... 11, 13, 25



                                                                      ii
          Case 1:25-cv-00766-JEB                       Document 72               Filed 04/01/25              Page 4 of 42




Clinton v. Goldsmith,
  526 U.S. 529 (1999) .................................................................................................................. 15

Davis v. U.S. Sent’g Comm’n,
  716 F.3d 660 (D.C. Cir. 2013) .................................................................................................. 14

Davrod Corp. v. Coates,
  971 F.2d 778 (1st Cir. 1992) ..................................................................................................... 18

Dep’t of State v. AIDS Vaccine Advoc. Coal.,
  No. 24A831, slip op. 7 (2025) ................................................................................................. 29

Department of State v. AIDS Vaccine Advocacy Coalition,
  145 S. Ct. 753 (2025) ................................................................................................................ 32

DHS v. Thuraissigiam,
 591 U.S. 103 (2020) .................................................................................................................. 14

El-Shifa Pharm. Indus. Co. v. United States,
  607 F.3d 836 (D.C. Cir. 2010) ............................................................................................ 12, 20

Epic Systems Corp. v. Lewis,
  584 U.S. 497 (2018) .................................................................................................................. 27

Ex parte Gilroy,
   257 F. 110 (S.D.N.Y. 1919) ..................................................................................................... 11

Fletcher v. Reilly,
  433 F.3d 867 (D.C. Cir. 2006) .................................................................................................. 13

Franklin v. Massachusetts,
  505 U.S. 788 (1992) .................................................................................................................. 16

General Tel. Co. v. Falcon,
  457 U.S. 147 (1982) .................................................................................................................. 31

Harisiades v. Shaughnessy,
  342 U.S. 580 (1952) ............................................................................................................ 12, 22

Harris v. Med. Transp. Mgmt., Inc.,
  77 F.4th 746 (D.C. Cir. 2023) ................................................................................................... 13

Heck v. Humphrey,
  512 U.S. 477 (1994) .................................................................................................................. 14

Holder v. Humanitarian Law Project,
  561 U.S. 1 (2010) .................................................................................................................. 3, 29


                                                                    iii
          Case 1:25-cv-00766-JEB                       Document 72               Filed 04/01/25              Page 5 of 42




Huisha-Huisha v. Mayorkas,
  27 F.4th 718 (D.C. Cir. 2022) ............................................................................................. 25, 26

In re Nat’l Nurses United,
   47 F.4th 746 (D.C. Cir. 2022) ................................................................................................... 15

J.G.G. v. Trump,
   No. 25-5067 (D.C. Cir. filed Mar. 15, 2025) ............................................................................. 6

J.G.G. v. Trump,
   No. 25-5068 (D.C. Cir. filed Mar. 15, 2025) ............................................................................. 7

Kiobel v. Royal Dutch Petroleum Co.,
  569 U.S. 108 (2013) .................................................................................................................. 29

Kiyemba v. Obama,
  561 F.3d 509 (D.C. Cir. 2009) .................................................................................................. 24

LoBue v. Christopher,
  82 F.3d 1081 (D.C. Cir. 1996) .............................................................................................. 1, 14

Lockington v. Smith,
  15 F. Cas. 758 (C.C.D. Pa. 1817) ............................................................................................... 4

Ludecke v. Watkins,
  335 U.S. 160 (1948) ........................................................................................................... passim

Makekau v. Hawaii,
 943 F.3d 1200 (9th Cir. 2019) .................................................................................................. 15

Martin v. Mott,
 25 U.S. 18 (1827) ...................................................................................................................... 12

Massachusetts v. Mellon,
 262 U.S. 447 (1923) .................................................................................................................. 30

Mathews v. Diaz,
 426 U.S. 67 (1976) .................................................................................................................... 12

Matos v. Venegas, No. 25-cv-00057 (S.D. Tex.) .......................................................................... 16

Mississippi v. Johnson,
  71 U.S. (4 Wall.) 475 (1867) .................................................................................................... 10

Morales v. Trans World Airlines, Inc.,
 504 U.S. 374 (1992) ............................................................................................................ 27, 28



                                                                    iv
          Case 1:25-cv-00766-JEB                       Document 72               Filed 04/01/25              Page 6 of 42




Morton v. Mancari,
 417 U.S. 535 (1974) .................................................................................................................. 27

Munaf v. Geren,
 553 U.S. 674 (2008) .................................................................................................................. 24

Newdow v. Roberts,
  603 F.3d 1002 (D.C. Cir. 2010) ................................................................................................ 10

Nishimura Ekiu v. United States,
  142 U.S. 651 (1892) .................................................................................................................. 23

Nken v. Holder,
  556 U.S. 418 (2009) ........................................................................................................... 28, 29

O’Banion v. Matevousian,
  835 F. App’x 347 (10th Cir. 2020) ........................................................................................... 15

Rumsfled v. Padilla,
  542 U.S. 426 (2004) ................................................................................................................. 13

Sale v. Haitian Ctrs. Council, Inc.,
  509 U.S. 155 (1993) .................................................................................................................. 25

Schneider v. Kissinger,
  412 F.3d 190 (D.C. Cir. 2005) .................................................................................................. 11

Smith v. Bayer Corp.,
  564 U.S. 299 (2011) .................................................................................................................. 32

Syngenta Crop Prot., Inc. v. Henson,
  537 U.S. 28 (2002) .................................................................................................................... 15

TransUnion LLC v. Ramirez,
  594 U.S. 413 (2021) .................................................................................................................. 30

Trump v. Hawaii,
  585 U.S. 667 (2018) ............................................................................................................ 30, 32

Trump v. United States,
  603 U.S. 593 (2024) .................................................................................................................. 10

Tulare Cnty. v. Bush,
  185 F. Supp. 2d 18 (D.D.C. 2001) ............................................................................................ 16

U.S. ex rel. Schlueter v. Watkins,
  67 F. Supp. 556 (S.D.N.Y.) ................................................................................................ 13, 16


                                                                     v
          Case 1:25-cv-00766-JEB                         Document 72                Filed 04/01/25               Page 7 of 42




U.S. ex rel. Schwarzkopf v. Uhl,
  137 F.2d 898 (2d Cir. 1943) ..................................................................................................... 13

United States ex rel. Knauff v. Shaughnessy,
  338 U.S. 537 (1950) .................................................................................................................. 23

United States ex rel. Schlueter v. Watkins,
  158 F.2d 853 (2d Cir. 1946) ..................................................................................................... 23

United States ex rel. Von Kleczkowski v. Watkins,
  71 F. Supp. 429 (S.D.N.Y. 1947) ....................................................................................... 26, 27

United States v. Cortez,
  449 U.S. 411 (1981) .................................................................................................................. 28

United States v. Curtiss-Wright Export Corp.,
  299 U.S. 304 (1936) ............................................................................................................ 21, 22

United States v. Texas,
  719 F. Supp. 3d 640 (W.D. Tex. 2024) .................................................................................... 17

Vetcher v. Sessions,
  316 F. Supp. 3d 70 (D.D.C. 2018) ............................................................................................ 16

Wal-Mart Stores, Inc. v. Dukes,
 564 U.S. 338 (2011) ............................................................................................................ 30, 31

Youngstown Sheet & Tube Co. v. Sawyer,
  343 U.S. 579 (1952) .................................................................................................................. 22

Zadvydas v. Davis,
  533 U.S. 678 (2001) .................................................................................................................. 29

Zemel v. Rusk,
  381 U.S. 1 (1965) ...................................................................................................................... 21

Zivotofsky ex rel. Zivotofsky v. Kerry,
  576 U.S. 1 (2015) ...................................................................................................................... 22

Statutes

28 U.S.C. § 1651(a) ...................................................................................................................... 15

5 U.S.C. § 704 ............................................................................................................................... 15

50 U.S.C. § 21 ........................................................................................................................ passim

50 U.S.C. § 22 ......................................................................................................................... 21, 24

                                                                       vi
          Case 1:25-cv-00766-JEB                         Document 72                 Filed 04/01/25               Page 8 of 42




50 U.S.C. § 23 ................................................................................................................................. 4

50 U.S.C. § 24 ................................................................................................................................. 4

8 U.S.C. § 1158(b)(1)(A) .............................................................................................................. 25

8 U.S.C. § 1182(b)(3)(B) ................................................................................................................ 6

8 U.S.C. § 1229a(a)(3) .................................................................................................................. 26

8 U.S.C. § 1231(b)(3) ................................................................................................................... 25

8 U.S.C. § 1231(b)(3)(A) .............................................................................................................. 26

8 U.S.C. § 1231(b)(3)(B)(iv) ........................................................................................................ 26

Exec. Order No. 14,157 .................................................................................................................. 2

Rules

Fed. R. Civ. P. 23(c)(1)(B), (2) ..................................................................................................... 30

Fed. R. Civ. P. 65(c) ..................................................................................................................... 32

Regulations

8 C.F.R. 1208.16 ........................................................................................................................... 25

8 C.F.R. 1208.16(a), 1208.18(b) ................................................................................................... 26

90 Fed. Reg. 10,030 (Feb. 20, 2025) .............................................................................................. 2

90 Fed. Reg. 13,033 (Mar. 20, 2025) .............................................................................................. 3

Other Authorities

Curtis A. Bradley & Jack L. Goldsmith, Congressional Authorization and the War on Terrorism,
  118 Harv. L. Rev. 2047, 2066 (2005) ....................................................................................... 19

Habeas Corpus, Executive Detention, and the Removal of Aliens,
  98 Colum L. Rev. 961 (1998) ................................................................................................... 13

See https://www.whitehouse.gov/presidential-actions/2025/03/invocation-of-the-alien-enemies-
  act-regarding-the-invasion-of-the-united-states-by-tren-de-aragua/ ...................................... 4, 5




                                                                       vii
       Case 1:25-cv-00766-JEB            Document 72         Filed 04/01/25       Page 9 of 42




                                         INTRODUCTION

        Plaintiffs’ request for a preliminary injunction should be denied because this case is

fundamentally miscast and procedurally barred. They style their claims as exclusively arising

under the Administrative Procedure Act (APA). But that is inconsistent with binding Supreme

Court precedent. The Court has held that detentions and removals under the Alien Enemies Act

(AEA) are so bound up with critical national-security judgments that they are barely amenable to

judicial review at all, let alone amendable to the sort of searching review that the APA usually

provides. See, e.g., Ludecke v. Watkins, 335 U.S. 160 (1948). Instead, aliens subject to the AEA

can only obtain judicial review of their individualized AEA determinations through habeas, and

habeas alone. See LoBue v. Christopher, 82 F.3d 1081, 1082-83 (D.C. Cir. 1996) (“[T]he key to

plaintiffs' inability to pursue a suit here is jurisdictional, and it rests merely on the availability—

not the actual seeking—of habeas relief elsewhere.”). Here, however, Plaintiffs abandoned their

claims for habeas relief and filed this suit outside of their district of their confinement (the Southern

District of Texas). The Court therefore lacks authority to grant relief.

        But even if not procedurally barred, Plaintiffs’ motion fails on the merits. The President

made two findings to enable designated enemy aliens to be summarily removable under the AEA:

that TdA members are involved in, threatening, or attempting an “invasion” or “predatory

incursion,” and that TdA has “infiltrated,” and “acts at the direction” of the Maduro regime in

Venezuela. The President made both findings based on specific descriptions of TdA’s hostile

activities and entwinement with the Maduro regime in Venezuela. Those findings fully comport

with the exercise of authority under the AEA. And the attendant removals are not inconsistent with

immigration laws, including the Immigration and Nationality Act (“INA”), and the Due Process




                                                   1
      Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25       Page 10 of 42




Clause. So even if this Court had the power to review Plaintiffs’ claims, Plaintiffs are unable to

show that they are likely to succeed on them.

       The balance of the equities also supports denial of Plaintiffs’ motion. The Plaintiffs, all

individuals identified as member of a group designated by the Secretary of State as a Foreign

Terrorist Organization (FTO), cannot credibly claim injury from the President’s decision to expel

them from the United States. Meanwhile the President has an overwhelming interest in securing

the United States and in ensuring that the executive’s significant outlay of diplomatic capital for

this mission is not wasted.

       Finally, and in any event, the Court should decline to grant classwide injunctive relief

because Plaintiffs have not met the rigorous standards under Federal Rule Civil Procedure 23. If

the Court awards injunctive relief, it should require Plaintiffs to provide security.

                                           BACKGROUND

I.     Tren de Aragua’s Designation as a Foreign Terrorist Organization and Under the
       Alien Enemies Act

       Tren de Aragua (TdA) is a transnational criminal organization that originated in Venezuela

and has “conducted kidnappings, extorted businesses, bribed public officials, authorized its

members to attack and kill U.S. law enforcement, and assassinated a Venezuelan opposition

figure.” Office of the Spokesperson, Dep’t of State, Designation of International Cartels (Feb. 20,

2025); see also Declaration of Selweyn Smith at ¶¶ 6-7; Declaration of Marcos D. Charles. The

President has found that TdA operates “both within and outside the United States,” and that its

“extraordinarily violent” campaign of terror presents “an unusual and extraordinary threat to the

national security, foreign policy, and economy of the United States.” Exec. Order No. 14,157, 90

Fed. Reg. 8439, 8439 (Jan. 29, 2025). On the first day of his term, the President declared a national

emergency to respond to that threat. Id.

                                                  2
      Case 1:25-cv-00766-JEB          Document 72        Filed 04/01/25      Page 11 of 42




       The threat is so acute that on February 20, 2025, the Secretary of State, in consultation with

other Cabinet officers, designated TdA a “foreign terrorist organization.” 90 Fed. Reg. 10,030

(Feb. 20, 2025). The immigration laws authorize such a designation upon the Secretary’s finding

that an organization is foreign, engages in “terrorist activity” or “terrorism” or “retains the

capability and intent” to do so, and thereby “threatens the security of United States nationals or

the national security of the United States.” 8 U.S.C. § 1189(a)(1), (d)(4); see Holder v.

Humanitarian Law Project, 561 U.S. 1, 9 (2010). Given that TdA poses a significant threat to

national security, government officials at the White House and the Department of State have

expended significant efforts engaging in delicate negotiations with foreign governments and

representatives in order to remove TdA members from the United States as swiftly as possible. As

the Senior Bureau Official within the State Department’s Bureau of Western Hemisphere Affairs

has explained, high-level government officials—including the Secretary himself—spent weeks

“negotiat[ing] at the highest levels with the Government of El Salvador and with Nicolas Maduro

and his representatives in Venezuela” with a view to securing consent to the removal to Venezuela

and El Salvador of Venezuelan nationals detained in the United States who are members of TdA.

Declaration of Michael Kozak (Kozak Decl.), ECF No. 26-2 at ¶ 2. Following those “intensive and

delicate negotiations,” the United States reached arrangements “with these foreign interlocutors to

accept the removal of some number of Venezuelan members of TdA.” Id.

       On March 14, 2025, the President signed a proclamation, which was published on the

White House website on March 15, invoking his authorities under the Alien Enemies Act (AEA),

50 U.S.C. § 21 et seq., against members of TdA. See Proclamation No. 10,903 § 1 (Mar. 14, 2025),

90 Fed. Reg. 13,033 (Mar. 20, 2025) (Proclamation). Originally enacted in 1798, the AEA grants




                                                 3
      Case 1:25-cv-00766-JEB          Document 72        Filed 04/01/25      Page 12 of 42




the Executive broad power to remove enemy aliens from the United States. For instance, the first

sentence of Section 21 provides:

       Whenever there is a declared war between the United States and any foreign nation
       or government, or any invasion or predatory incursion is perpetrated, attempted, or
       threatened against the territory of the United States by any foreign nation or
       government, and the President makes public proclamation of the event, all natives,
       citizens, denizens, or subjects of the hostile nation or government, being of the age
       of fourteen years and upward, who shall be within the United States and not actually
       naturalized, shall be liable to be apprehended, restrained, secured, and removed as
       alien enemies.

50 U.S.C. § 21. Section 21’s second sentence elaborates on related powers:

       The President is authorized in any such event, by his proclamation thereof, or other
       public act, to direct the conduct to be observed on the part of the United States,
       toward the aliens who become so liable; the manner and degree of the restraint to
       which they shall be subject and in what cases, and upon what security their
       residence shall be permitted, and to provide for the removal of those who, not being
       permitted to reside within the United States, refuse or neglect to depart therefrom;
       and to establish any other regulations which are found necessary in the premises
       and for the public safety.

The Act’s remaining provisions outline procedures for implementing the President’s broad

authority. Section 22 provides that “an alien who becomes liable as an enemy” but who “is not

chargeable with actual hostility, or other crime against the public safety,” may be afforded some

time to settle his affairs before departing from the United States. 50 U.S.C. § 22. Section 23

provides an optional process by which an alien enemy can be ordered removed by a federal court

following a complaint, rather than directly by the President. 50 U.S.C. § 23; see Lockington v.

Smith, 15 F. Cas. 758, 761 (C.C.D. Pa. 1817) (Washington, J.) (the President can remove alien

enemies under the Act without resorting to the Section 23 process). And Section 24 prescribes a

role for marshals in implementing removal orders under the Act. 50 U.S.C. § 24.

       The President’s March 14 Proclamation outlines his findings that TdA members meet the

statutory criteria for removal under the Alien Enemies Act. The President found that TdA, which


                                                4
      Case 1:25-cv-00766-JEB             Document 72      Filed 04/01/25     Page 13 of 42




“commits brutal crimes” including murder and kidnapping, is “conducting irregular warfare and

undertaking       hostile       actions      against       the      United       States.”      See

https://www.whitehouse.gov/presidential-actions/2025/03/invocation-of-the-alien-enemies-act-

regarding-the-invasion-of-the-united-states-by-tren-de-aragua/. The President further found that

TdA has “engaged in and continues to engage in mass illegal migration to the United States” as a

means of supporting Maduro’s goal of “harming United States citizens, undermining public

safety,” and “destabilizing” the United States. Id. And the President found that TdA works with

the Maduro-sponsored Cartel de los Soles to use “illegal narcotics as a weapon to ‘flood’ the

United States.” Id.

       The President additionally found that TdA and other criminal organizations have taken

control over Venezuelan territory, resulting in a “hybrid criminal state.” Id. Moreover, TdA is

“closely aligned with” Maduro’s regime in Venezuela, and indeed has “infiltrated” the regime’s

“military and law enforcement apparatus.” Id. The resulting hybrid state, the President determined,

“is perpetrating an invasion of and predatory incursion into the United States,” posing “a

substantial danger” to the Nation. Id.

       Based on those findings, the President proclaimed that “all Venezuelan citizens 14 years

of age or older who are members of TdA, are within the United States, and are not actually

naturalized or lawful permanent residents of the United States are liable to be apprehended,

restrained, secured, and removed as Alien Enemies” pursuant to 50 U.S.C. § 21. Id. Further, “all

such members of TdA are” “chargeable with actual hostility against the United States” and “are a

danger to the public peace or safety of the United States.” Id.

        The Proclamation adds that all such TdA members “are subject to immediate

apprehension, detention, and removal.” Id. To that end, the President directed the Attorney General


                                                 5
      Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25      Page 14 of 42




and the Secretary of Homeland Security to “apprehend, restrain, secure, and remove every Alien

Enemy described” above. Id. Any such TdA member found within the United States is “subject to

summary apprehension.” Id. Aliens apprehended under the Proclamation may be detained until

their removal, then may be removed to “any such location as may be directed” by the enforcing

officers. Id. TdA members remain deportable under other authorities, including pursuant to a final

order of removal issued under Title 8 as members of a foreign terrorist organization or otherwise.

8 U.S.C. §§ 1182(b)(3)(B), 1227(a)(4)(B). But the Proclamation lets the President use a

particularly expeditious, statutorily authorized removal method for individuals found to present

serious national-security threats under specified circumstances.

II.    This Suit

       On March 15, 2025, Plaintiffs, five nationals of Venezuela who claim to fear removal under

the Proclamation, filed this putative class-action complaint along with a motion for a temporary

restraining order. Plaintiffs moved to certify a class of “[a]ll noncitizens who were, are, or will be

subject to the Alien Enemies Act Proclamation and/or its implementation.” Compl., ECF No. 1, a

p. 12. Plaintiffs asserted that implementing the Proclamation would violate “their right to habeas

corpus” and asked for “a writ of habeas corpus.” Compl. at 21. Plaintiffs also sought relief under

the APA, asking for an injunction barring enforcement of the Proclamation as contrary to the AEA,

the Immigration and Nationality Act, 8 U.S.C. § 1101 et seq., and other authorities. Compl. at 15-

21. Plaintiffs, finally, moved for a TRO “barring their summary removal under the AEA.” ECF

No. 3-2, at 2.

       Hours later, the Court granted Plaintiffs’ motion and ordered that “Defendants shall not

remove any of the individual Plaintiffs from the United States for 14 days absent further Order of

the Court.” Second Minute Order (Mar. 15, 2025). The Government appealed the district court’s


                                                  6
      Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25      Page 15 of 42




first order and filed an emergency motion to stay it. See J.G.G. v. Trump, No. 25-5067 (D.C. Cir.

filed Mar. 15, 2025). Later that day, the Court then held a hearing on March 15, 2025, at 5:00 p.m.

Third Minute Order (Mar. 15, 2025). At that hearing, Plaintiffs dismissed their habeas claims at

this Court’s suggestion. Afterward, the Court issued an order (1) provisionally certifying a class

of individuals determined by the Executive to be members of a designated FTO, defined as “All

noncitizens in U.S. custody who are subject to the March 15, 2025, Presidential Proclamation . . .

and its implementation,” (2) enjoining the Government “from removing members of such class

(not otherwise subject to removal) pursuant to the Proclamation for 14 days or until further Order

of the Court,” and (3) setting a briefing schedule for a motion to vacate the TRO. Fourth Minute

Order (Mar. 15, 2025). The Government filed a second emergency appeal, this time of the

nationwide order and sought a stay on an emergency basis. See J.G.G. v. Trump, No. 25-5068

(D.C. Cir. filed Mar. 15, 2025).

       On March 17, the government moved in the district court to vacate the nationwide TRO,

ECF No. 26, on March 24, the Court denied the government’s motion, ECF No. 52. The Court

explained that Plaintiffs “are not limited to habeas relief,” because they challenge only their

removal and “do not seek release from confinement.” Id. Turning to the merits, the Court found

that Plaintiffs are likely to prevail on their claim that “summary deportation following close on the

heels of the Government’s informing an alien that he is subject to the Proclamation—without

giving him the opportunity to consider whether to voluntarily self deport or challenge the basis for

the order—is unlawful.” Id. The Court held that “all class members must be given the opportunity

to challenge their classifications as alien enemies, if they wish to do so, before they may be

lawfully removed from the United States pursuant to the proclamation.” Id. The court rejected the

government’s argument that “such judicial inquiry can take place only in a habeas court.” Id. The


                                                 7
       Case 1:25-cv-00766-JEB          Document 72        Filed 04/01/25      Page 16 of 42




Court opined that there “may well also be independent restrictions on the Government’s ability to

deport class members—at least to Salvadoran prisons,” id., under the Foreign Affairs Reform and

Restructuring Act of 1998, Pub. L. No. 105-277, Div. G, § 2242(b), 112 Stat. 2681-822, which

effectuates implementation of Article 3 of the Convention Against Torture. Finally, the Court

concluded that Plaintiffs are likely to suffer irreparable harm in the Salvadoran detention facilities

to which they anticipated being removed. ECF No. 52. By contrast, the Court dismissed the

government’s harms from the TRO as “vague foreign-policy and national-security concerns.” Id.

The court thus declined to vacate the initial TRO. Id.

        On March 26, the D.C. Circuit issued a 2-1 ruling denying a stay, with each judge writing

separately. J.G.G. v. Trump, 25-5067 (D.C. Cir.), Per Curiam Order dated Mar. 26, 2025 (“D.C.

Cir. Order”). A majority (Judges Henderson and Walker) agreed that the TRO orders are

appealable. Id. at 7-8 (Henderson, J., concurring); id. at 73-76 (Walker, J., dissenting). A majority

further agreed that the government “risks irretrievable injury” because the district court’s orders

enjoining further removals “risk ‘scuttling delicate international negotiations’” during a critical

juncture. Id. at 8 (Henderson, J., concurring); see id. at 75-76 (Walker, J., dissenting). A different

majority nonetheless voted to deny relief. Id. at 17-23 (Henderson, J., concurring); id. at 56-68

(Millett, J., concurring).

        Judge Henderson voted to deny the stay. See id. at 29-30. She explained that the district

court’s orders are appealable because they risk upending international negotiations and they run

against the President. Id. at 7-8. But she determined that the government had not shown a

likelihood of success on the merits. See id. at 17-23. She “assume[d]” that Plaintiffs could properly

bring their claims under the APA rather than through habeas, id. at 10 (emphasis omitted); rejected

the government’s reliance on the unreviewability of AEA questions, see id. at 11-12; and rejected


                                                  8
       Case 1:25-cv-00766-JEB            Document 72         Filed 04/01/25      Page 17 of 42




parts of the government’s interpretations of the statutory terms “invasion” and “predatory

incursion,” see id. at 13-23. Yet she reserved “whether TdA has conducted an ‘invasion or

predatory incursion’ ‘against the territory of the United States’”; “whether TDA’s conduct is

‘perpetrated, attempted, or threatened by a foreign nation or government’”; or whether the INA

provides “the ‘exclusive procedure’ for removal and thus eclipse[s] any contrary authority in the

AEA.” Id. at 24-25 (cleaned up).

        Judge Henderson also determined that the equities did not support granting a stay. Id. at

25-28. Although she had stated in finding the orders appealable that they “threaten[] truly

‘irretrievable’ harm” by upending “‘delicate international negotiations,’” id. at 7 (citation omitted),

she concluded in analyzing the equities that the government does not face irreparable harm, see id.

at 28. Finally, she stated that “what the district court did here was not a universal injunction” and

that the court instead “followed the Rules of Civil Procedure and certified a class,” but she refused

to “pass on the class action ‘fit’ of the plaintiffs’ claims.” Id. at 29 n.9.

        Judge Millett, too, voted to deny a stay. See id. at 71. In her view, the district court’s orders

constitute unappealable TROs. See id. at 46-53. She rejected the government’s argument that most

AEA questions are judicially unreviewable under Supreme Court precedent, see id. at 55-62, and

reasoned that this suit could proceed through the APA, not habeas corpus, see id. at 62-68.

Although she did not resolve the merits of Plaintiffs’ underlying claims, she stated that the Fifth

Amendment’s Due Process Clause entitles aliens to notice and the opportunity for a hearing before

their removal. See id. at 60-65. She also determined that the equities do not support granting a stay,

see id. at 68-69, and opined that “[o]nly a swift class action[] could preserve Plaintiffs’ legal

rights.” Id. at 68.




                                                    9
      Case 1:25-cv-00766-JEB            Document 72        Filed 04/01/25      Page 18 of 42




       Judge Walker dissented. Id. at 72. He concluded that the district court’s orders are

appealable because they “affirmatively interfered with an ongoing, partially overseas, national-

security operation.” Id. at 75. He determined that the government is likely to succeed on the merits

because the suit could properly be brought only through a habeas action in Texas, not through an

APA action in the District of Columbia. See id. at 86-89. He viewed the equities as favoring a stay

because the court’s orders jeopardize “the status of ‘intensive and delicate’ negotiations with El

Salvador and the Maduro regime in Venezuela.” Id. at 90.

       On March 28, the Court extended the TRO until April 12. ECF No. 66. The Court found

good cause for the extension because the “grounds for originally granting the TRO continue to

exist,” and additional time is needed fully to consider the parties’ briefing on Plaintiffs’ motion for

a preliminary injunction. Id. at 1-2.

                                           ARGUMENT

I.     This Court Lacks Jurisdiction over Plaintiffs’ Claims

       A.      There is no jurisdiction to review the President’s Proclamation.

       This Court lacks jurisdiction to review the Proclamation or enjoin the President’s exercise

of authority under Article II and the AEA.

       1. The Supreme Court has long recognized that courts cannot issue an injunction purporting

to supervise the President’s performance of his duties. Mississippi v. Johnson, 71 U.S. (4 Wall.)

475, 501 (1867) (courts have “no jurisdiction … to enjoin the President in the performance of his

official duties”); Trump v. United States, 603 U.S. 593, 607 (2024) (recounting that the President

“has important foreign relations responsibilities: [including] … recognizing foreign governments,

… overseeing international diplomacy and intelligence gathering, and managing matters related to

terrorism, … and immigration”); see also Newdow v. Roberts, 603 F.3d 1002, 1013 (D.C. Cir.


                                                  10
      Case 1:25-cv-00766-JEB           Document 72         Filed 04/01/25    Page 19 of 42




2010) (“With regard to the President, courts do not have jurisdiction to enjoin him.”).

       Consistent with that general rule, courts have held for over a century that the President’s

authority and discretion under the AEA is not a proper subject for judicial scrutiny: “The authority

of the President to promulgate by proclamation or public act ‘the manner and degree of the restraint

to which they (alien enemies) shall be subject, and in what cases,’ is, of course, plenary and not

reviewable.” Ex parte Gilroy, 257 F. 110, 112 (S.D.N.Y. 1919) (emphasis added); see also id.

(“Once the person is an alien enemy, obviously the course to be pursued is essentially an executive

function, to be exercised in the discretion of the President.”).

       Indeed, the D.C. Circuit has described the statute as conferring “[u]nreviewable power in

the President,” which it characterized as the “essence of the Act.” Citizens Protective League v.

Clark, 155 F.2d 290, 294 (D.C. Cir. 1946). The court explained:

               As a practical matter, it is inconceivable that before an alien enemy
               could be removed from the territory of this country in time of war,
               the President should be compelled to spread upon the public record
               in a judicial proceeding the method by which the Government may
               detect enemy activity within our borders and the sources of the
               information upon which it apprehends individual enemies. No
               constitutional principle is violated by the lodgment in the President
               of the power to remove alien enemies without resort or recourse to
               the courts.
Id. That is binding circuit precedent. Unreviewable means unreviewable. It leaves no room for

judicial review, much less sweeping national injunctions.

       2. The Court lacks power to review the President’s Proclamation for another reason as well:

Whether the AEA’s preconditions are satisfied is a political question committed to the President’s

discretion, no different from the President’s determination to trigger the Constitution’s Invasion

Clause (Article IV, section 4). See California v. United States, 104 F.3d 1086, 1091 (9th Cir.

1997) (collecting cases). Any challenge to that determination is therefore foreclosed.


                                                 11
      Case 1:25-cv-00766-JEB            Document 72         Filed 04/01/25    Page 20 of 42




          The Supreme Court has held that the political question doctrine is “essentially a function

of the separation of powers.” Baker v. Carr, 369 U.S. 186, 217 (1962). To guide courts in

determining when such a question is raised, the Supreme Court identified six “formulations” that

indicate a question has been committed to the political branches. See, e.g., Schneider v. Kissinger,

412 F.3d 190, 194 (D.C. Cir. 2005). The President’s invasion determination under the AEA

implicates at least two independently sufficient factors.

          First, the determination that an “invasion” or “predatory incursion” involving enemy aliens

is being perpetrated sits at the intersection of two areas textually committed by the Constitution to

the political branches: (1) foreign affairs, see El-Shifa Pharm. Indus. Co. v. United States, 607 F.3d

836, 842 (D.C. Cir. 2010); and (2) immigration policy, see Mathews v. Diaz, 426 U.S. 67, 81

(1976).      Indeed, “any policy towards aliens is vitally and intricately interwoven with

contemporaneous policies in regard to the conduct of foreign relations, the war power, and the

maintenance of a republican form of government. Such matters are so exclusively entrusted to the

political branches of government as to be largely immune from judicial inquiry or interference.”

Harisiades v. Shaughnessy, 342 U.S. 580, 588–89 (1952).

          Second, even without the clear textual commitment to the Executive of the constitutional

responsibilities undergirding issuance of the Proclamation, there are no manageable standards that

would permit a court to assess exactly when hostile entry and criminal and violent acts within the

United States by aliens constitute an “invasion” or “predatory incursion” for AEA purposes. See

Martin v. Mott, 25 U.S. 18, 31-32 (1827) (Story, J.); see also California, 104 F.3d at 1091.

          The Constitution simply provides no basis for a court to determine when this AEA trigger

has been met, and thus there is no basis for second-guessing the policy judgment by the Executive

that such an “invasion” or “predatory incursion” is occurring.


                                                  12
      Case 1:25-cv-00766-JEB            Document 72         Filed 04/01/25       Page 21 of 42




        B.      AEA Claims Must Exclusively Be Brought Through Habeas.

        AEA proclamations are thus conclusive and preclusive. As for whether the Act’s

preconditions are satisfied, that is the President’s call alone; the federal courts have no role to play.

But that is not to say judicial review is wholly unavailable in the context of the AEA. Rather,

plaintiffs may bring individual claims regarding whether a proclamation has been properly applied

against them. Ludecke thus acknowledged that “the question as to whether the person restrained is

in fact an alien enemy fourteen years of age or older may” be “reviewed by the courts.” Ludecke,

335 U.S. at 171 n.17. Such review is limited to questions like “whether the detainee is an alien,

and whether the detainee is among the ‘natives, citizens, or subjects of the hostile nation’ within

the meaning of the Act.” Gerald L. Neuman, Habeas Corpus, Executive Detention, and the

Removal of Aliens, 98 Colum L. Rev. 961, 994 & n.196 (1998); see Ludecke, 335 U.S. at 171.1

        Such claims, however, are necessarily habeas claims. It is the substance of a complaint

that dictates whether it sounds in habeas. See Boudin v. Thomas, 732 F.2d 1107, 1111 (2d Cir.



1
  Because jurisdiction in this context is limited to individual habeas claims challenging whether an
alien has been properly included in the category of alien enemies—necessarily an individual
determination—there is also no basis to certify a class to resolve those claims. See Harris v. Med.
Transp. Mgmt., Inc., 77 F.4th 746, 753 (D.C. Cir. 2023) (class certification not appropriate where
“questions of law or fact … affecting only individual members” predominate); Compl. ¶¶ 9–13
(setting out separate factual circumstances of each Plaintiff); see, e.g., Ludecke, 335 U.S. at 163–
64 (reasoning, on appeal from “[d]enial of a writ of habeas corpus,” that “some statutes ‘preclude
judicial review’” and “the Alien Enemy Act of 1798 is such a statute,” as demonstrated by the
clear text and “controlling contemporary construction”); id. at 164–65 (noting that “every judge
before whom the question has since come has held that the statute barred judicial review”); see
also U.S. ex rel. Schlueter v. Watkins, 67 F. Supp. 556, 565 (S.D.N.Y.), aff’d, 158 F.2d 853 (2d
Cir. 1946) (reviewing habeas petition challenging detention as an alien enemy and explaining
“courts are without power to review the action of the executive in ordering removal of an alien
enemy in time of war except with respect to the question whether the relator is an enemy alien”);
U.S. ex rel. Schwarzkopf v. Uhl, 137 F.2d 898, 900 (2d Cir. 1943) (similar); Citizens Protective
League, 155 F.2d at 296 (affirming dismissal, for failure to state a claim, of non-habeas cases
raising constitutional challenges to application of Alien Enemies Act and seeking injunction).

                                                   13
      Case 1:25-cv-00766-JEB          Document 72        Filed 04/01/25     Page 22 of 42




1984). And the substance of Plaintiffs’ complaint is a challenge to the Executive’s legal authority

to issue the Proclamation under which they are currently being held. See Compl. 15–20.2 Such a

challenge to the lawfulness of detention authority is a classic habeas claim—the “core” of habeas

is as “a remedy for unlawful detention.” DHS v. Thuraissigiam, 591 U.S. 103, 127 (2020) (citation

omitted). And the line between detention and removal in the AEA context is a distinction without

a difference. Under the Proclamation, detention is the immediate precursor to removal. 50 U.S.C.

§ 21; Proclamation §§ 4–6. And both involve exercise of custodial authority under the AEA, which

Plaintiffs’ claims here argument is unlawful—a quintessential habeas claim.

       In other words, Plaintiffs’ claims are core habeas claims because prevailing would defeat

the basis of their detention under the AEA; they cannot claim otherwise by purporting to attack

only the collateral consequence of removal. A state prisoner cannot evade the procedural

requirements of habeas by bringing claims for other forms of relief, such as damages, that would

“necessarily imply the invalidity of his conviction or sentence.” Heck v. Humphrey, 512 U.S. 477,

483 (1994). Likewise, a fugitive cannot prevent extradition through a suit for declaratory relief

rather than in habeas. LoBue v. Christopher, 82 F.3d 1081, 1083 (D.C. Cir. 1996) (explaining that

habeas was the correct remedy even though the plaintiffs there had “not formally sought a release

from custody” because prevailing on their claims would immediately entitle them “to release or a

new trial because of the issue preclusion effect of the judgment”).




2
  Indeed, Plaintiffs’ complaint contains a habeas claim, which they withdrew less than a day after
they filed the complaint. See Mot. Hr’g Tr. at 22:23–25 (Mar. 15, 2025). They had little choice
but to do so. Plaintiffs, by their own admission, were not detained in this district, and habeas is
available only in the district of detention. See Padilla, 542 U.S. at 435; Fletcher v. Reilly, 433
F.3d 867, 875 (D.C. Cir. 2006).
                                                14
       Case 1:25-cv-00766-JEB            Document 72     Filed 04/01/25      Page 23 of 42




        Indeed, Plaintiffs concede that this principle distinguishing core and noncore habeas claims

applies here. Mem. Supp. PI Mot. 10 (citing Davis v. U.S. Sent’g Comm’n, 716 F.3d 660, 664

(D.C. Cir. 2013), for the proposition that a claim need not be heard in the district of confinement

where “victory would not secure his immediate release” or reduction in sentence)); id. at 11 (citing

LoBue, 82 F.3d at 1083–84, for the proposition that a claim must be brought in habeas if success

“would have ‘preclusive effect’ on [a] pending habeas petition [and] would secure release from

confinement”). Plaintiffs have not argued—nor can they—that success on their claims would not

result in their release. That means their claims are core habeas claims that must be brought in the

district of their confinement, not this district.

        The existence and availability of a habeas remedy to challenge the alien-enemy

determinations at issue here is fatal to Plaintiffs’ APA challenge. By the APA’s terms, it is

available only for final agency action “for which there is no other adequate remedy in a court.” 5

U.S.C. § 704. But habeas is an “adequate remedy” through which a Plaintiff can challenge the

applicability of the Proclamation to himself, and, thus, whether he may be detained and removed

under the Proclamation. 3 Because habeas is adequate to obtain the relief Plaintiffs seek, it

displaces any review under the APA. See O’Banion v. Matevousian, 835 F. App’x 347, 350 (10th

Cir. 2020).4



3
 Habeas relief is also available to challenge alleged procedural due process violations in Executive
detention, contrary to Plaintiffs’ unsupported assertion otherwise. Mem. Supp. PI Mot. 12 n.6; but
see, e.g., Boumediene v. Bush, 553 U.S. 723, 781–82 (2008) (discussing procedural protections
available in habeas as depending, in part, on those provided in process leading to detention).
4
  Brownell v. Tom We Shung, 352 U.S. 180 (1956), upon which this Court relied in its order
denying Defendants’ motion to vacate the TRO, ECF No. 53, at 14–15, does not aid Plaintiffs,
who do not even cite it in support of their PI motion. First, Brownell did not involve a claim under
the AEA, which broadly “preclude[s] judicial review” other than in habeas. Ludecke, 335 U.S. at

                                                    15
      Case 1:25-cv-00766-JEB          Document 72        Filed 04/01/25     Page 24 of 42




       More fundamental, Plaintiffs’ attempt to challenge the President’s Proclamation via the

APA fails out of the gate. Compl. 18 (Claim 6). The President is not an agency, and his actions

are not subject to APA review. See Franklin v. Massachusetts, 505 U.S. 788, 801 (1992);

Armstrong v. Bush, 924 F.2d 282, 289 (D.C. Cir. 1991). But the AEA vests authority in the

President, and the President issued the Proclamation. There is therefore no avenue under the APA

for Plaintiffs to enjoin the Proclamation. See Tulare Cnty. v. Bush, 185 F. Supp. 2d 18, 28–29

(D.D.C. 2001), aff’d, 306 F.3d 1138 (D.C. Cir. 2002) (holding that APA review does not extend

to agency action “merely carrying out directives of the President” for the same reasons “APA does

not apply to presidential action,” since “the action in question is an extension of the President’s

action”); see also Vetcher v. Sessions, 316 F. Supp. 3d 70, 78 (D.D.C. 2018) (recognizing that

APA review is not available when relief is available in habeas).

       In short, outside of limited habeas review, which Plaintiffs have expressly disclaimed here,

“[t]he control of alien enemies has been held to be a political matter in which the executive and




164 (citation omitted). And second, Congress overruled Brownell shortly after its decision by
specifying that aliens “may obtain judicial review” of exclusion orders “by habeas corpus
proceedings and not otherwise.” Pub. L. No. 87-301, § 5, 75 Stat. 653 (1961) (emphasis added).

Nor does the All Writs Act, 28 U.S.C. § 1651(a), provide freestanding jurisdiction. Although
§ 1651(a) allows courts to issue “writs necessary or appropriate in aid of their respective
jurisdictions,” id., it “does not erase separate legal requirements for a given type of claim.”
Makekau v. Hawaii, 943 F.3d 1200, 1204 (9th Cir. 2019). Section 1651(a) thus “does not confer
jurisdiction on the federal courts”; rather, it lets a court protect jurisdiction already properly
invoked. See Syngenta Crop Prot., Inc. v. Henson, 537 U.S. 28, 32–33 (2002); Clinton v.
Goldsmith, 526 U.S. 529, 534–35 (1999). Thus, if a “court does not and would not have
jurisdiction to review the agency action sought by petitioners, it cannot bootstrap jurisdiction”
through § 1651(a). In re Nat’l Nurses United, 47 F.4th 746, 752 (D.C. Cir. 2022).

                                                16
      Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25      Page 25 of 42




the legislature may exercise an unhampered discretion,” and an “alien enemy” otherwise “is not,

under the Constitution and the Statute, entitled to any hearing.” Schlueter, 67 F. Supp. at 565.5

II.    Plaintiffs Cannot Succeed on the Merits of Their Claims.

       A.      The Proclamation comports with the requirements of the statute.

       In all events, the Proclamation and its implementation are perfectly lawful. The AEA

grants the President discretion to issue a proclamation directing the apprehension, restraint, and

removal of alien enemies when two conditions are found by the President to be met. First, there

must be “a declared war,” or “an[] invasion” or a “predatory incursion” that is “perpetrated,” or

“attempted,” or “threatened against the territory of the United States[.]” 50 U.S.C. § 21. Second,

that hostile action must be by a “foreign nation” or “government.” Id. The Proclamation signed

by the President satisfies both conditions.

               1.      TdA’s actions constitute an invasion or a predatory incursion into the
                       territory of the United States.

       As to the first prerequisite, the President determined that TdA is perpetrating an invasion

or a predatory incursion into the United States. Although the word “invasion” of course includes

a military entry and occupation of a country, the accepted definition of that term is far broader, as

definitions cotemporaneous with the passage of the AEA make clear. “Invasion” was defined to

include “an hostile entrance,” see, e.g., 1 John Ash, The New and Complete Dictionary of the

English Language (1775), or an “hostile encroachment” on another’s territory, see Thomas



5
 Plaintiffs’ objection that they will not have the opportunity to file habeas petitions in the absence
of preliminary relief is nonsense. First, it does not change the fact that the great writ is the only
avenue through which the law provides them the relief they seek. Second, they can file habeas
petitions in the correct district now, as has already been done. Matos v. Venegas, No. 25-cv-00057
(S.D. Tex.). If a Plaintiff chooses not to seek habeas relief now, while he is in United States
custody, he will have no one to blame but himself if the Executive exercises its authority to remove
him immediately upon the dissolution of preliminary relief in this Court.
                                                 17
      Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25      Page 26 of 42




Sheridan, A Complete Dictionary of the English Language (2d ed. 1789). Nor is there any

requirement that the purposes of the incursion are to possess or hold territory. See, e.g., United

States v. Texas, 719 F. Supp. 3d 640, 681 (W.D. Tex. 2024). Here, the actions of TdA fit accepted

conceptions of what constitutes an invasion. TdA’s illegal entry into and continued unlawful

presence in the United States is an encroachment on the territory of the U.S. that entails hostile

acts contrary to the rights of U.S. citizens to be free from criminality and violence. See Smith Decl.

at ¶¶ 8-18.

       At minimum, the actions of TdA constitute a “predatory incursion” that justifies invocation

of Section 21. The phrase “predatory incursion” encompasses (1) an entry into the United States

(2) for purposes contrary to the interests or laws of the United States. See, e.g., Amaya v. Stanolind

Oil & Gas Co., 62 F. Supp. 181, 189–90 (S.D. Tex. 1945) (noting use of the phrase to describe

raids in Texas during hostilities with Mexico in the 1840s that fell well short of “invasion”); see

also Davrod Corp. v. Coates, 971 F.2d 778, 785 (1st Cir. 1992) (using the phrase to refer to foreign

fishing fleets unlawfully entering and fishing in U.S. territorial waters); Bas v. Tingy, 4 US 37

(1800) (broadly defining “enemy” and “war”). Here, there is no question that TdA and its members

have effected entries into the United States, and similarly no question that the purposes of that

entry are contrary to both the interests and laws of this country: trafficking in substances and

people, committing violent crimes, and conducting its business with interests antithetical to those

of `the United States. See Proclamation, Sect. 1.

       Plaintiffs’ main contention is that “invasion” and “predatory incursion” both necessarily

entail military actions by foreign governments or the opening salvo of war meant to displace a

government or conquer territory. See generally Mot. at 22-26. There is no question that definitions

of both terms include military actions, but both just as unquestionably have broader meanings that


                                                 18
      Case 1:25-cv-00766-JEB             Document 72        Filed 04/01/25       Page 27 of 42




are not foreclosed by any source cited by Plaintiffs. In fact, many of the sources relied on by

Plaintiffs contain definitions supportive of the government’s argument. See Webster’s Dictionary,

“Invasion” (1828) (“[a] hostile entrance into the possessions of another); id., “Incursion”

(“entering into a territory with hostile intention”). In short, both definitions include military action,

but neither is limited to such action.

                2.      Given its intimate connection to Venezuela, TdA is a “foreign nation or
                        government” for purposes of Section 21.

        The Proclamation makes clear that TdA qualifies as a “foreign nation or government” for

at least two independent reasons. To start, TdA’s infiltration of key elements of the Venezuelan

state, make it indistinguishable from Venezuela. See Proclamation. TdA’s growth itself can be

attributed to promotion via the actions of former Governor of Aragua Tareck El Aissami, who was

later appointed Vice President in the Maduro regime. Id. And Maduro’s connections to the group,

via the regime-sponsored narco-terrorism enterprise Cártel de los Soles, are also clear. Id. The

Cártel de los Soles “coordinates with and relies on TdA [] to carry out its objective of using illegal

narcotics as a weapon to ‘flood’ the United States.” See id.

        Given how significantly TdA has become intertwined in the fabric of the Venezuela’s

structures, it functions as a governing entity in Venezuela. Through those ties, TdA has become

indistinguishable from the Venezuelan state, and the two may be folded together for purposes of

invoking Section 21.

        Although Plaintiffs try to depict this invocation of the AEA as novel, the United States has

a long history of using war powers against formally nonstate actors. Historically, the United States

has authorized the use of force against “slave traders, pirates, and Indian tribes.” Curtis A. Bradley

& Jack L. Goldsmith, Congressional Authorization and the War on Terrorism, 118 Harv. L. Rev.

2047, 2066 (2005). It has engaged militarily, during broader armed conflicts, with “opponents

                                                   19
      Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25      Page 28 of 42




who had no formal connection to the state enemy,” including during the Mexican–American and

Spanish–American Wars. Id. at 2066–67. President Wilson famously “sent more than seven

thousand U.S. troops into Mexico to pursue Pancho Villa, the leader of a band of rebels opposed

to the recognized Mexican government,” id. at 2067, while, more recently, President Clinton

authorized missile strikes on al Qaeda targets in Africa and elsewhere, see generally El-Shifa, 607

F.3d 836.

       This history is important because statutes must be read in context. See, e.g., Abramski v.

United States, 134 S. Ct. 2259, 2267 (2014) (“Courts ‘must . . . interpret the relevant words not in

a vacuum, but with reference to the statutory context, ‘structure, history, and purpose.’”) (citation

omitted). The AEA is a war powers statute and thus must be read in light of the United States’

robust history of employing its war powers against non-state actors.

       In all events, TdA also acts as a governing authority in the areas where it operates. As the

Proclamation recognizes, “Venezuela national and local authorities have ceded ever-greater

control over their territories to transnational criminal organizations, including TdA.” Proclamation

Preamble. In those areas where it operates, TdA is in fact acting as a criminal governing entity,

independent or in place of the normal civil society and government. Given TdA’s governance and

organizational structure, as well as its de facto control over parts of Venezuela in which it operates

with impunity as an effective governing authority unto itself, it is well within the discretion of the

President to determine it constitutes a foreign “government” for purposes of invoking Section 21.

       Plaintiffs’ contrary arguments lack merit. They again point to cherry-picked dictionary

definitions (Mot. at 26-27), but miss the point: the government has never argued that TdA is itself

a “nation,” and the control and authority exercised by TdA within territory it controls in Venezuela

is consistent with founding-era definitions of “government,” see Thomas Dyche & William


                                                 20
      Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25      Page 29 of 42




Pardon, A New General English Dictionary (1754) (“the power or authority that one person

exercises over another, or many”). Additionally, although the AEA references the possibility that

a covered entity may be able to enter into a treaty governing certain aspects of relations between

it and the United States, the statute does not in any way establish treaty-making authority as a

prerequisite to inclusion. See 50 U.S.C. § 22 (allowing departure consistent with “any treaty then

in force between the United States and the hostile nation or government” and further contemplating

circumstances “where no such treaty exists”). Nor is there any reason that specific terminology

used in the Proclamation should weigh against the President’s determination (Mot. at 27-28);

members of TdA are clearly “subject” to the authority of that criminal organization and the

governance it wields. See Dyche & Pardon, supra (“under the command, or at the disposal of

another”).

       Plaintiffs’ fundamental argument seems to be that other individuals do not agree with the

President’s determination that TdA and the state of Venezuela are sufficiently intertwined to justify

invocation of the AEA. See Mot. at 28-29. Yet the President is entitled to examine the available

evidence and intelligence estimates and make a final determination based on his own assessment

of what those documents show. See Zemel v. Rusk, 381 U.S. 1, 17 (1965) (noting “the changeable

and explosive nature of contemporary international relations, and the fact that the Executive is

immediately privy to information which cannot be swiftly presented to, evaluated by, and acted

upon by the legislature”); cf. United States v. Curtiss-Wright Export Corp., 299 U.S. 304, 319

(1936) (“the President alone has the power to speak or listen as a representative of the nation”). It

is not the proper role of this Court to second-guess those determinations based on nothing more

than a handful of declarations by individuals not remotely involved with the assessment of

evidence or decision-making that culminated in the instant Proclamation. See Ameziane v. Obama,


                                                 21
      Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25      Page 30 of 42




699 F.3d 488, 494 (D.C. Cir. 2012) (“consistent with our rule of deference, it is within the role of

the executive to acquire and exercise the expertise of protecting national security. It is not within

the role of the courts to second-guess executive judgments made in furtherance of that branch’s

proper role.”) (citation omitted).

       B.      The Proclamation is supported by the President’s inherent authority to
               conduct foreign affairs and address national security risks.

       The President’s inherent Article II authority bolsters the Proclamation. Under his authority

to protect the nation, the President determined that TdA represents a significant risk to the United

States, that it is intertwined and advancing the interests of the Venezuelan state in a manner

antithetical to the interests of the United States, and that its members should be summarily removed

from this country as part of that threat. The exercise of authority in this case is firmly supported

by longstanding Supreme Court precedent. Article II confers on the President expansive authority

over foreign affairs, national security, and immigration. See Harisiades v. Shaughnessy, 342 U.S.

580, 588 (1952); United States v. Curtiss-Wright Exp. Corp., 299 U.S. 304, 320 (1936). And

where, as here, “the President acts pursuant to an express or implied authorization of Congress,”

i.e., 50 U.S.C. § 21, coupled with the President’s own Article II powers over foreign affairs and

national security, “his authority is at its maximum, for it includes all that he possesses in his own

right plus all that Congress can delegate.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

635 (1952) (Jackson, J., concurring); see Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 10

(2015) (similar); see also Ludecke, 335 U.S. at 164.

       If anything, this authority is heightened here. The Supreme Court has consistently noted

that “[i]t is an accepted maxim of international law that every sovereign nation has the power, as

inherent in sovereignty, and essential to self-preservation, to forbid the entrance of foreigners

within its dominions, or to admit them only in such cases and upon such conditions as it may see

                                                 22
      Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25      Page 31 of 42




fit to prescribe.” Nishimura Ekiu v. United States, 142 U.S. 651, 659 (1892). Thus, laws involving

aliens are “implementing an inherent executive power.” United States ex rel. Knauff v.

Shaughnessy, 338 U.S. 537, 542 (1950) (emphasis added). The confluence of statutory and

constitutional authority puts the President’s actions on the strongest possible turf.

       C.      Plaintiffs’ remaining arguments lack merit.

       Plaintiffs’ additional arguments against the legality of the Proclamation all lack merit.

       First, Plaintiffs argue (Mot. at 32-34) that individuals may not be removed without due

process or allowance of a period of voluntary departure. The statute permits absolute discretion to

establish the conditions and processes the Executive will use to implement a Presidential

Proclamation, see 50 U.S.C. § 21, and whatever those procedures are effectively constitute due

process for purposes of the AEA. See United States ex rel. Schlueter v. Watkins, 158 F.2d 853, 853

(2d Cir. 1946) (the AEA authorizes “the making of an order of removal of an alien enemy without

a court order and without a hearing of any kind”); see also Ludecke, 335 U.S. at 162-63 (noting

the entirely administrative process established for determining whether an individual was an alien-

enemy). Moreover, although aliens who are deemed to fall within the scope of the Proclamation

may file a petition for habeas challenging that designation, providing an added layer of procedural

safeguards, nothing requires the government to delay removal to permit access to habeas on the

alien’s preferred timeline.

       Plaintiffs’ contention that a period of voluntary departure is required is not a defensible

reading of the statute, especially in context. To be sure, Section 21 permits the President to

“provide for the removal of those who, not being permitted to reside within the United States,

refuse or neglect to depart therefrom,” 50 U.S.C. § 21, but it also broadly provides that alien

enemies within the purview of a Proclamation “shall be liable to be . . . removed as alien enemies.”


                                                 23
      Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25      Page 32 of 42




In this context, where the alien enemies are members of the hostile force itself, the President cannot

be required to provide any period of voluntary departure prior to effectuating removal, and the

AEA’s entire purpose would be undercut if active participants in hostilities had to be politely asked

to depart on their own terms.

       For that reason, the Proclamation explains that TdA engaged in “mass illegal migration to

the United States to further its objectives of harming United States citizens,” and that this activity

undermines public safety, while also enhancing the “Maduro regime’s goal of destabilizing

democratic nations in the Americas, including the United States.” Proclamation Preamble. That

finding negates Plaintiffs’ assertion that a period of voluntary departure is statutorily required in

this case, since section 22 makes clear that voluntary departure is only available when an alien

“not chargeable with actual hostility, or other crime against public safety.” 50 U.S.C. § 22. Here,

all members of TdA are chargeable under the Proclamation and their designation as members of a

foreign terrorist organization (a designation that has not been judicially challenged).

       Second, Plaintiffs contend that the Proclamation impermissibly prohibits aliens from

seeking relief and protection under federal law, including the provision of the Foreign Affairs

Reform and Restructuring Act (“FARRA”) which codifies the obligations of the United States

under the Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment of

Punishment (“CAT”). See Mot. at 34-36. As a threshold matter, there is no direct conflict between

the United States’ obligations under CAT as codified by the FARRA, and removals pursuant to

the AEA. The United States continues to abide by its policy not to remove aliens to counties in

which they are likely to be tortured. See Munaf v. Geren, 553 U.S. 674, 702 (2008). “Under Munaf

… the district court may not question the Government's determination that a potential recipient

country is not likely to torture a detainee.” Kiyemba v. Obama, 561 F.3d 509, 514 (D.C. Cir. 2009).


                                                 24
      Case 1:25-cv-00766-JEB           Document 72         Filed 04/01/25      Page 33 of 42




       Nor is there a colorable argument that enemy aliens must be permitted to seek relief or

protection prior to removal. Such relief is generally permitted only in the exercise of the President’s

discretion. See Citizens Protective League, 155 F.2d at 294 (noting common law rule that “alien

enemies have no rights, no privileges, unless by the king’s special favor”). Plaintiffs’ argument is,

fundamentally, one of conflict between the INA and the AEA, yet this conflict is illusory. The INA

provides a system for determining removability and any relief or protection from removal for

aliens under the authority of Title 8, whereas the AEA provides its own mechanisms permitting

the President or his delegates to implement procedures and regulations governing removal,

detention, and any other issue related to invocation of the AEA, see 50 U.S.C. § 21.

       With respect to asylum and statutory withholding of removal related to persecution claims,

none of the cited provisions constraint the President’s actions under Title 50. See 8 U.S.C.

§ 1158(b)(1)(A) (Attorney General or Secretary of Homeland Security); 8 U.S.C. § 1231(b)(3)

(Attorney General); 8 C.F.R. §§ 1208.16, 1208.18 (Immigration Judges, via delegation from the

Attorney General); see also Sale v. Haitian Ctrs. Council, Inc., 509 U.S. 155, 172-73 (1993)

(recognizing distinct grants of authority under the INA to, inter alia, the President and Attorney

General). Nor are such constraints implicated just because the President has delegated certain

authorities, including implementation of the Proclamation, to the Attorney General. See id. At 172

n.28 (in implementing the Proclamation, the Attorney General would be “carrying out an

executive, rather than a legislative, command, and therefore would not necessarily [be] bound” by

provisions of the INA).

       In any event, individuals subject to removal under Title 50 would likely be barred from

eligibility for asylum or statutory withholding of removal related to persecution under the INA.

Asylum is a discretionary form of relief, and eligibility for such relief may be foreclosed on a


                                                  25
      Case 1:25-cv-00766-JEB           Document 72         Filed 04/01/25      Page 34 of 42




categorical basis, as the D.C. Circuit has previously held in the context of Title 42. See Huisha-

Huisha v. Mayorkas, 27 F.4th 718, 730-31 (D.C. Cir. 2022). Here, the AEA disallows relief for

covered enemy aliens, and that represents the Executive’s categorical conclusion that such aliens

are not entitled to relief in the exercise of discretion. Likewise, aliens subject to removal under the

AEA would not be eligible for statutory withholding of removal because the President’s invocation

of the AEA suggests that “there are reasonable grounds to believe that [such aliens are] a danger

to the security of the United States.” 8 U.S.C. § 1231(b)(3)(B)(iv).

       Finally, Plaintiffs argue (Mot. at 36-38) that the INA provides the sole mechanism through

which an alien may be removed from the United States. Yet the determination required under the

AEA does not relate to the “admissibility” or “deportability” of any alien, so there is no reason to

believe that Title 8 and its “sole and exclusive” means for addressing those questions is implicated

in this case. See 8 U.S.C. § 1229a(a)(3) (removal proceedings are “exclusive” only to the extent

the government is determining admissibility or removability, as those terms are defined under Title

8). Rather, the INA and AEA are distinct mechanisms for effectuating the removal of certain aliens

from the United States, just as Title 42 and the INA constitute different bases for excluding aliens

from the United States. See generally Huisha-Huisha, 27 F.4th 718.

       In fact, the immigration laws and AEA have been read harmoniously for over 75 years. See

United States ex rel. Von Kleczkowski v. Watkins, 71 F. Supp. 429, 437 (S.D.N.Y. 1947). Not all

alien enemies will be subject to removal under Title 8 because the authority under Title 50 extends

to aliens regardless of lawful status in the United States. Likewise, not all aliens subject to Title 8

will be subject to removal under the AEA—as removal under the AEA is premised on discrete

findings, such as nationality and age, beyond admissibility or removability as defined by the INA.

And for aliens subject to both Title 8 and Title 50, the Executive has discretion in deciding how


                                                  26
       Case 1:25-cv-00766-JEB           Document 72         Filed 04/01/25       Page 35 of 42




and whether to proceed under either or both statutes. See id. (recognizing this discretion under pre-

INA immigration law). Thus, the AEA, INA, and FARRA coexist with some overlap that gives

the Executive discretion to determine how, whether, or when to apply them. See, e.g., Epic Systems

Corp. v. Lewis, 584 U.S. 497, 510 (2018) (“When confronted with two Acts of Congress allegedly

touching on the same topic, this Court . . . must . . . strive to give effect to both.” (cleaned up)).

        Even if there were a conflict between the AEA and the INA, it is the AEA that would

control in this circumstance. “[I]t is a commonplace of statutory construction that the specific

governs the general.” Morales v. Trans World Airlines, Inc., 504 U.S. 374, 384 (1992). Here, the

AEA provides specific rules for the removal of a subset of aliens—those designated as alien

enemies through a discrete mechanism providing authority to the President—against the more

general provisions relating to removability provided by the INA. Thus, to the extent there may be

conflict, the AEA provides an exception to the more general applicability of the INA’s removal

provisions, and this is true regardless of the later enactment of the INA. See, e.g., Morton v.

Mancari, 417 U.S. 535, 550-51 (1974) (“Where there is no clear intention otherwise, a specific

statute will not be controlled or nullified by a general one, regardless of the priority of enactment”).

III.    The Remaining Equitable Factors Weigh Strongly in the Government’s Favor.

        A.      Plaintiffs have not established irreparable harm.

        Plaintiffs’ claims of irreparable harm are premised on “summary remov[al] to places, such

as El Salvador, where they face life-threatening conditions, persecution and torture.” Mot. 38-39;

see also id. at 18–21. Plaintiffs, while conceding that “removal does not by itself ordinarily

constitute irreparable harm,” Mot. 38 (citing Nken, 556 U.S. at 435), nevertheless complain that

“these are hardly run-of-the-mill removals,” emphasizing the “harsh and life threatening”

conditions that may face Plaintiffs if removed. Mot. 38. But, Nken involved a claim of past


                                                   27
      Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25      Page 36 of 42




persecution and changed circumstances that would “ma[k]e his persecution more likely.” Id. at

422–23 (“Nken claimed he had been persecuted in the past . . . would be subject to further

persecution if he returns” and that changed circumstances since he left his home country “made

his persecution more likely”). “It is accordingly plain that the burden of removal alone cannot

constitute the requisite irreparable injury.” Id. at 435. Plaintiffs further allege that the harm they

will face if removed is compounded by failure to receive due process. Mot. 39-40. But, as

discussed, AEA jurisprudence limits Plaintiffs to habeas review which Plaintiffs have expressly

disclaimed. As such, Plaintiffs cannot claim harms for lack of process which they have disavowed

in availing themselves to this Court’s jurisdiction.

       B.      The balance of equities favors denial of preliminary injunctive relief.

       The balance of harms and the equities strongly favor the government here as an injunction

irreparably harms the United States’ conduct of foreign policy. An injunction effectively usurps

the President’s statutory and constitutional authority to address what he has identified as an

invasion or predatory incursion by a group undertaking hostile actions and conducting irregular

warfare. An injunction “deeply intrudes into the core concerns of the executive branch,” Adams v.

Vance, 570 F.2d 950, 954 (D.C. Cir. 1978), and frustrates the “public interest in effective measures

to prevent the entry of illegal aliens,” United States v. Cortez, 449 U.S. 411, 421 n.4 (1981). The

Executive Branch’s protection of these interests, including “sensitive and weighty interests of

national security and foreign affairs” that are implicated when the Executive is combating terrorist

groups, warrants the utmost deference. Humanitarian Law Project, 561 U.S. at 33–35.

       The Supreme Court has warned of “the danger of unwarranted judicial interference in the

conduct of foreign policy.” Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108, 116 (2013); Biden

v. Texas, 142 S. Ct. 2528, 2548 (2022) (Kavanaugh, J., concurring) (“Nothing in the relevant


                                                 28
      Case 1:25-cv-00766-JEB          Document 72        Filed 04/01/25     Page 37 of 42




immigration statutes at issue here suggests that Congress wanted the Federal Judiciary to

improperly second-guess the President’s Article II judgment with respect to American foreign

policy and foreign relations”). An injunction does just that, threatening to undermine weeks of

delicate international negotiations to remove dangerous alien enemies, where even a short delay

in removal can frustrate removal entirely. See Zadvydas v. Davis, 533 U.S. 678, 696 (2001); Kozak

Decl. An injunction also risks compromising the ability of the United States to negotiate in the

future on key foreign-affairs and national-security issues, as foreign actors may “change their

minds regarding their willingness to accept” alien enemies or might otherwise seek to “leverage

[any delay] as an ongoing issue.” Kozak Decl. at ¶¶ 3, 4.

       These equities outweigh the equities Plaintiffs have raised. See, e.g., Nken v. Holder, 556

U.S. 418, 436 (2009) (noting there “is always a public interest in prompt execution of removal

orders” even in cases where an alien asserts a risk of harm, and that interest “may be heightened”

in circumstances where “the alien is particularly dangerous”).       The nation’s security is of

paramount importance.

IV.    The Court Should Not Enter a Nationwide Injunction Based on a Defective
       Provisional Class Certification.

       The Court should not enter a preliminary injunction premised on its provisional

certification of a nationwide class. The highly truncated class procedures here—in which a

nationwide class was certified before the government could even file a brief in opposition—are

incompatible with “‘foundational’ limits on equitable jurisdiction.” Dep’t of State v. AIDS Vaccine

Advoc. Coal., No. 24A831, slip op. 7 (2025) (Alito, J., joined by Thomas, Gorsuch, and

Kavanaugh, J.J., dissenting) (citation omitted). Here, the provision class is non-ascertainable and

consists of anyone in U.S. custody who might be subject to the Proclamation—based on allegations

by putative class members who claim they do not belong to TdA and thus cannot possibly represent

                                                29
      Case 1:25-cv-00766-JEB            Document 72       Filed 04/01/25     Page 38 of 42




a class whose defining characteristic is being subject to a Proclamation directed at TdA members.

The injunction undermines longstanding deference to the Executive Branch’s national security

judgments, including the President’s responsibility to identify and respond to threats posed by the

TdA. Moreover, Article III does not empower federal courts to “exercise general legal oversight

of the Legislative and Executive Branches,” TransUnion LLC v. Ramirez, 594 U.S. 413, 423–24

(2021), much less empower them to assume a position of authority over the governmental acts of

another coequal department, “an authority which plainly [courts] do not possess.” Massachusetts

v. Mellon, 262 U.S. 447, 489 (1923). By awarding relief to an amorphous nationwide class, the

court effectively circumvented equitable limitations on universal relief in a sensitive national-

security context.

          Before moving forward with a preliminary injunction, the Court must conduct the “rigorous

analysis” that Federal Rule of Civil Procedure 23 demands. Wal-Mart Stores, Inc. v. Dukes, 564

U.S. 338, 351 (2011). As an initial matter, the Court must define “the class claims, issues, or

defenses,” and satisfy the requirement to “appoint class counsel under Rule 23(g),” or the

requirement to “direct appropriate notice to the class.” Fed. R. Civ. P. 23(c)(1)(B), (2). Those

requirements are indispensable: The modern class action already represents an “‘adventuresome’”

“innovat[ion]” on traditional “equity practice.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591,

613, 617 (1997) (citation omitted); see Trump v. Hawaii, 585 U.S. 667, 718 (2018) (Thomas, J.,

concurring). They impose an impose an important protection against overbroad classwide relief

orders.

          The Court must also consider Rule 23(a)’s interrelated requirements of commonality,

typicality, and adequacy. These requirements serve to “effectively ‘limit the class claims to those

fairly encompassed by the named plaintiff’s claims.’” Wal-Mart, 564 U.S. at 349. In particular, “a


                                                 30
      Case 1:25-cv-00766-JEB            Document 72        Filed 04/01/25       Page 39 of 42




class representative must be part of the class and ‘possess the same interest and suffer the same

injury’ as the class members.” Id. at 348-349 (citation omitted). But here, Plaintiffs disclaim their

association with TdA, which makes them adequate representatives; “‘a class representative must

be part of the class.’” General Tel. Co. v. Falcon, 457 U.S. 147, 156 (1982) (citation omitted); see

also Amchem, 521 U.S. at 625-626. It also makes their claims materially different from those

brought by individuals who acknowledge their ties to TdA.

       Nor can Plaintiffs satisfy Rule 23(b)(2), which states that an injunctive class may be

certified if injunctive relief “is appropriate respecting the class as a whole.” But whether an alien

is a member of TdA; whether he has been given sufficient process; whether he is removable under

a different provision of law; and other such questions necessarily are individualized determinations

unsuitable for class treatment. Cf. D.C. Cir. Order at 80 n.34 (Walker, J., dissenting) (explaining

that this “type of challenge is unique to each plaintiff, so it would seem that a class action is a poor

vehicle”). As this Court has explained, Rule 23(b)(2) “does not authorize class certification when

each individual class member would be entitled to a different injunction or declaratory judgment

against the defendant.” Wal-Mart, 564 U.S. at 360.

       More generally, a preliminary injunction here would block the Executive from

implementing the Proclamation against anyone currently in U.S. custody, throughout the entire

Nation, see, e.g., Appl. for Partial Stay at 15-28, 32-35, Trump v. CASA, Inc. (No. 24A884),

universal injunctions that extend to non-parties exceed “the power of Article III courts,” conflict

with “longstanding limits on equitable relief,” and impose a severe “toll on the federal court

system.” Hawaii, 585 U.S. at 713 (Thomas, J., concurring); see Department of State v. AIDS

Vaccine Advocacy Coalition, 145 S. Ct. 753, 756 (2025) (Alito, J., dissenting). Although as a

formal matter Plaintiffs are seeking relief only to parties—namely, class members, cf. Smith v.


                                                  31
       Case 1:25-cv-00766-JEB           Document 72        Filed 04/01/25       Page 40 of 42




Bayer Corp., 564 U.S. 299, 313 (2011)—proceedings without a proper class-certification analysis

would make this a universal injunction by another name. As Justice Gorsuch observed in a related

context, universal relief has the effect of making “class-action procedures . . . essentially irrelevant

in administrative litigation. Thus, the Court should limit any injunction to the five individual

Plaintiffs.

        In addition, to the extent that the Court were to determine that the APA, AEA, or due

process requires an opportunity to challenge individual determinations under the AEA, the

availability of habeas proceedings provides the requisite process. Relief should therefore be limited

to providing an opportunity for aliens to seek habeas relief, rather than creating entirely new

alternative procedures. Any relief should further account for the fact that aliens being confined

under the AEA, but not removed, already have the ability to seek relief in habeas—as many have

already started to do.

V.      Plaintiffs Must Provide Security.

        Federal Rule of Civil Procedure 65(c) provides that the “court may issue a preliminary

injunction or a temporary restraining order only if the movant gives security in an amount that the

court considers proper to pay the costs and damages sustained by any party found to have been

wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c) (emphasis added). To the extent the Court

grants relief to Plaintiffs, Defendants respectfully request that the Court require Plaintiffs to post

security for taxpayer funds expended during the pendency of the Court’s Order in the event it is

later determined that Defendants were wrongfully enjoined. The risk of harm here is not

insubstantial and may include the cost of continued detention during the pendency of the injunction

of individuals who would otherwise have been removed.




                                                  32
      Case 1:25-cv-00766-JEB         Document 72       Filed 04/01/25       Page 41 of 42




                                       CONCLUSION

       For these reasons, the Court should deny Plaintiffs’ motion for a preliminary injunction

April 1, 2025                                       Respectfully Submitted,

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                                               33
      Case 1:25-cv-00766-JEB          Document 72        Filed 04/01/25      Page 42 of 42




                                CERTIFICATE OF SERVICE


       I hereby certify that on April 1, 2025, I electronically filed this response with the Clerk of

the Court for the United States District Court for the District of Columbia by using the CM/ECF

system. Counsel in the case are registered CM/ECF users and service will be accomplished by the

CM/ECF system.


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                                                34
